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1    MUNGER CHADWICK, P.L.C.
     National Bank Plaza
2
     333 North Wilmot, Suite 300
3    Tucson, Arizona 85711
     Telephone: (520) 721-1900
4    Facsimile: (520) 747-1550
5
     Mark E. Chadwick
6    mechadwick@mungerchadwick.com
     ASB # 014991
7
     Attorney for: Plaintiff
8
                      IN THE UNITED STATES DISTRICT COURT
9                         FOR THE DISTRICT OF ARIZONA
10
     KOLEEN GALLAGHER,
11
                        Plaintiff/                  NO. 4:17-MC-00005
12
                        Judgment Creditor,
13          vs.                               APPLICATION FOR WRIT OF
                                                     EXECUTION
14   RICHARD JAMES. GALLAGHER,                      (Non-Earnings)
15
                         Defendant/              (Rule 69, Fed. R. Civ. Pro;
16                       Judgment Debtor          A.R.S. §§12-1572 – 1597)
17

18   and

19   JPMorgan Chase Bank, N.A.
20   c/o CT Corporation System
     3800 N. Central Ave., Suite 460
21   Phoenix, AZ 85012
22
                        Executee/Garnishee.
23

24   STATE OF ARIZONA          )
                               ) ss
25   County of Pima            )
26         MARK E. CHADWICK, being first duly sworn, deposes and says:
       Case 4:17-mc-00005-RM Document 10 Filed 12/04/17 Page 2 of 2




1
       1. He is the attorney for the above named Judgment Creditor, and is authorized
2         to make this Affidavit
3      2. Plaintiff has recovered judgment against Judgment Debtor Richard James
          Gallagher.
4
       3. The amount of the outstanding balance on the judgment or order, including
5         accrued interest and allowable costs is $192,272.48. Interest accrues at the
          rate of .58% per annum. The cost of serving the Writ of Execution will be as
6         shown on the Affidavit of Service and may be added to the Judgment along
          with allowable costs.
7
       4. I believe the Executee/Garnishee is holding money for judgment debtor which
8         is not exempt from collection.
9      5. I have provided Executee’s/Garnishee’s name and address in the caption
          above.
10
       6. I have attached a completed Writ of Execution and Summons form and ask
11        that the Writ be issued.
12        DATED this ____day of December, 2017.
13
                                         MUNGER CHADWICK, P.L.C.
14

15
                                         ____________________________________
16                                       Mark E. Chadwick
                                         Attorney for Judgment Creditor
17

18   SUBSCRIBED AND SWORN to before me this ____ day of December, 2017, by
19   Mark E. Chadwick.

20

21                                 ________________________________________
                                        Notary Public
22

23   My Commission Expires on:
24   _______________________
25

26


                                           -2-
